                                    EXHIBIT F
                             Standard and Poor’s Article




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Detroit Water And Sewer Revenue Bond Ratings Lowered To 'CCC' On
                                                                                                                                                                  Contact Client
Vulnerability To Default; Remains On Watch Negative                                                                                                               Services
Publication date: 25-Mar-2014 14:55:16 EST
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CHICAGO (Standard & Poor's) March 25, 2014--Standard & Poor's Ratings Services
said that it has lowered its ratings on Detroit's water and sewer revenue
bonds to 'CCC' from 'BB-'. The ratings remain on CreditWatch with negative
implications, indicating that Standard & Poor's could lower them further
within 90 days as the city moves through the bankruptcy process.

"We lowered our rating because we view the obligations as currently vulnerable
to nonpayment," said Standard & Poor's credit analyst Scott Garrigan. In
Standard & Poor's view, the city's Plan of Adjustment indicates that the
treatment of the water- and sewer-related debt classes could involve an
exchange offer where investors receive less value than the promise of the
original securities. We view such an exchange as tantamount to a default.

"We could remove the rating from CreditWatch, or even raise the rating," said
Mr. Garrigan, "if we determine that there is a diminished likelihood of an
exchange offer involving less value than the original promise." In determining
this, we will consider the answers to additional information as we consider
appropriate, based on our criteria.

RELATED CRITERIA AND RESEARCH

Related Criteria
    z   Criteria For Assigning 'CCC+', 'CCC', 'CCC-', And 'CC' Ratings, Oct. 1,
        2012
Related Research
    z   Rating Implications Of Exchange Offers And Similar Restructurings, May
        12, 2009
Complete ratings information is available to subscribers of RatingsDirect at
www.globalcreditportal.com and at spcapitaliq.com. All ratings affected by
this rating action can be found on Standard & Poor's public Web site at
www.standardandpoors.com. Use the Ratings search box located in the left
column. Alternatively, call one of the following Standard & Poor's numbers:
Client Support Europe (44) 20-7176-7176; London Press Office (44)
20-7176-3605; Paris (33) 1-4420-6708; Frankfurt (49) 69-33-999-225; Stockholm
(46) 8-440-5914; or Moscow 7 (495) 783-4009.

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